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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-03352-RBJ

JOEL WHITMAN, individually and
on behalf of all others similarly situated,

               Plaintiff,

       v.

DCP MIDSTREAM, LLC,

               Defendant,

CYPRESS ENVIRONMENTAL MANAGEMENT-TIR, LLC,

               Intervenor-Defendant.



       ENTRY OF APPEARANCE ON BEHALF OF INTERVENOR-DEFENDANT


       Jennifer L. Gokenbach, of the law firm The Workplace Counsel, hereby enters her

appearance in the above-captioned action on behalf of the Intervenor-Defendant, Cypress

Environmental Management-TIR, LLC.

       Respectfully submitted this 8th day of April, 2021.

                                                       THE WORKPLACE COUNSEL
                                                       s/ Jennifer L. Gokenbach
                                                       Jennifer L. Gokenbach
                                                       1401 Lawrence Street, Suite 1600
                                                       Denver, Colorado 80202
                                                       Tel: 303.625.6400
                                                       Fax: 303.990.8131
                                                       jennifer@theworkplacecounsel.com


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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of April, 2021, I electronically filed the foregoing
ENTRY OF APPEARANCE ON BEHALF OF INTERVENOR-DEFENDANT with the
Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
counsel of record who have entered an appearance in the case.

                                                    s/ Jennifer L. Gokenbach




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